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13                            UNITED STATES DISTRICT COURT
14                 NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
15 CALIFORNIA COALITION FOR WOMEN                          Case No. 4:23-cv-04155
   PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;
16 G.M.; A.S.; and L.T., individuals on behalf of          DECLARATION OF N
   themselves and all others similarly situated,           S     IN SUPPORT OF
17               Plaintiffs,
                                                           PLAINTIFFS’ MOTIONS FOR
                                                           PRELIMINARY INJUNCTION
18        v.                                               AND PROVISIONAL CLASS
                                                           CERTIFICATION
19 UNITED    STATES OF AMERICA FEDERAL
   BUREAU OF PRISONS, a governmental entity;
20 BUREAU     OF PRISONS DIRECTOR COLETTE
   PETERS, in her official capacity; FCI DUBLIN
21 WARDEN      THAHESHA JUSINO, in her official
   capacity; OFFICER BELLHOUSE, in his
22 individual capacity; OFFICER GACAD, in his
   individual capacity; OFFICER JONES, in his
23 individual capacity; LIEUTENANT JONES, in
   her individual capacity; OFFICER LEWIS, in his
24 individual capacity; OFFICER NUNLEY, in his
   individual capacity, OFFICER POOL, in his
25 individual capacity, LIEUTENANT PUTNAM, in
   his individual capacity; OFFICER SERRANO, in
26 his individual capacity; OFFICER SHIRLEY, in
   his individual capacity; OFFICER SMITH, in his
27 individual capacity; and OFFICER VASQUEZ, in
   her individual capacity,
28               Defendants.
     [4333987.1]
       DECLARATION OF N            S     IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                          INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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 1                 I, N          S      (legal name S               S     ), declare:
 2                 1.     I have personal knowledge of the facts set forth herein, and if called as a
 3 witness, I could and would competently so testify. I make this declaration in support of
 4 Plaintiffs’ Motions for Preliminary Injunction and Provisional Class Certification.
 5                 2.     I was incarcerated at FCI Dublin from November 2020 to March 2022. I
 6 was transferred to Federal Detention Center, SeaTac (“Sea Tac”). I now live and reside in
 7 California.
 8                 3.     FCI Dublin’s inadequate systems for preventing, detecting, and responding
 9 to sexual abuse have caused actual harm to myself and others incarcerated at FCI Dublin
10 and put myself and other incarcerated persons at substantial risk of serious harm from
11 sexual assault, harassment, and retaliation from staff.
12                 4.     I am a transgender man and while at FCI Dublin, I experienced and
13 witnessed sexual abuse by Officer Smith.
14                 5.     When I first arrived at Dublin, I was quarantined for about three weeks in
15 unit J-2. While in quarantine, I started seeing guards in women’s rooms. My friend told
16 me about how staff would have sex with women in the closet and the office station.
17                 6.     I began to see it for myself. I noticed that Officer Smith would target young,
18 petite Mexican women. He forced these women to expose themselves in order to shower,
19 and he watched them in the bathroom and shower. When I was moved to C Unit, I saw
20 how no one in the room was able to do things like shower without showing him their
21 private parts or going into the restroom with him first.
22                 7.     I also saw Officer Smith take women into the closet to have sex.
23                 8.     I was transferred to E/F Unit. While I lived in this unit, in April or May of
24 2021, I woke up and saw Officer Smith in his cell, with his genitals exposed. I screamed
25 out and Officer Smith left. Officer Smith wasn’t scheduled to work in that unit.
26                 9.     When incarcerated persons report sexual abuse by staff, FCI Dublin and
27 BOP do not seriously investigate the reports. Investigations are frequently delayed and
28 overseen by staff who know and work with the offending staff member. Generally nothing
     [4333987.1]                                          1
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 1 happens as a result.
 2                 10.   After Officer Smith came into my cell, I asked around about how to report it.
 3 I reported it to the Special Investigative Specialist (SIS), Lt. Putnam, who took notes and
 4 said he would look at the camera footage. Lt. Putnam told me: “Yes, it was S                 , but you
 5 should keep quiet, do your time, and don’t make problems.”
 6                 11.   Staff at FCI Dublin prevent people from reporting sexual assault and abuse
 7 by staff and retaliate against people who do report. I was retaliated against for reporting to
 8 Putnam.
 9                 12.   In or around June 2021, I had a seizure and was hospitalized. My family
10 called FCI Dublin. Captain Gonzales threatened my mom saying, “Stop reaching out,
11 don’t tell anyone or we will hurt him.”
12                 13.   And the officers did in fact hurt me. Officer Ontavierros physically
13 assaulted me shortly thereafter.
14                 14.   Other officers also directly threatened me. In or around July 2021, Officer
15 Caldera told me in the yard, “If you have a seizure, I’ll let you die. Better say bye to your
16 family. I’ll show you.”
17                 15.   I reported the statement to Lt. Putnam that day and filed a BP-9 grievance
18 form. I never received a response.
19                 16.   In general, Officers Ramos, Saucedo, and Smith picked on me for being
20 outspoken and for being transgender. They made transphobic comments such as, “you’re
21 not a man, you’re a female.”
22                 17.   I was also retaliated against with isolation in the SHU. I was placed in SHU
23 four times, even though I received only one actual disciplinary action.
24                 18.   There is little to no medical care available to survivors of sexual abuse and
25 assault at FCI Dublin and I also experienced medical neglect throughout my time at
26 Dublin. I have used Hormone Replacement Therapy (HRT) for nine years, but I have had
27 many issues getting HRT while in BOP. There has been continuous delays and
28 inconsistent treatment. BOP refuses to provide me with gender affirming surgery. I
     [4333987.1]                                         2
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 1 experienced a huge delay getting chest binders, which alleviate my dysphoria.
 2                 19.   Officers at FDC SeaTac continued to mistreat me because I came from FCI
 3 Dublin and because they knew I reported Officer Smith. I experienced various types of
 4 harassment, including use of force, false write-ups, no phone access, and placements in the
 5 SHU.
 6                 20.   When I arrived to FDC SeaTac on March 16, 2022, SIS Officer Joyce
 7 interviewed me and informed me that SIS staff knew “what was up with me,” and told me
 8 “to watch myself as well as the other inmates I came with from Dublin,” because we
 9 “knew too much so we needed to be watched.” Officers were explicit about targeting me
10 because I came from Dublin, telling me, “we will never let you do to us what you did to
11 staff at Dublin.” I also overheard other officers say, “Oh, that’s S           , we don’t need to be
12 dealing with his bullshit;” “This one of the ones from Dublin, we don’t need this shit
13 here;” and “Why we don’t just open up the SHU and keep him or her in there especially
14 with what we heard.”
15                 21.   And they did exactly that. Shortly after this incident, on April 13, 2022, I
16 was placed in SHU for an investigation into a physical altercation. SIS staff reviewed the
17 camera footage and saw that I was nowhere around the fights that took place. I still stayed
18 in the SHU because there were further allegations of extortion against me. These
19 allegations were unfounded and there was never any evidence of extortion given to officers
20 or myself. I felt targeted because I was from Dublin; four out of six people in the SHU
21 were from Dublin and were allegedly involved. By April 19, even after the actual parties
22 involved received disciplinary reports, I was not released from the SHU.
23                 22.   I broke down mentally and asked to speak with mental health. The counselor
24 told me they did not care, and they believed me and the others from Dublin should be in
25 one area like this to be managed, despite the fact that I had no disciplinary actions. I
26 confided in mental health that I feared for my safety in this facility and had a target on my
27 back just for coming from FCI Dublin. The counselor said, “Well, we do have to take time
28 for special attention for people who come from Dublin, who may be working to trap
     [4333987.1]                                         3
       DECLARATION OF N                 S     IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
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 1 officers like they did at Dublin.” I spent ten days in the SHU total, including three days
 2 after total clearance from the investigation because of proof that I was not involved.
 3                 23.   I also faced medical retaliation. At FDC SeaTac, I was never provided with
 4 a chest binder. I have a seizure disorder, and was prescribed a helmet as a medical device.
 5 The SeaTac officials threw my helmet away.
 6                 24.   From May 31, 2022 to June 10, 2022, I was constantly harassed and targeted
 7 by Officer Tucker, the foreman at my job in food service. Officer Tucker told me to stay
 8 out of the way because the staff and executives were planning to seclude me from other
 9 African American inmates, especially the ones from Dublin, because we were “making too
10 much noise.” Officer Tucker searched my cell that day while I was at work, taking all of
11 my blue items to prove I was a gang member, and wrote me up on a falsified shot saying
12 my laundry line was an escape rope.
13                 25.   Officer Tucker threatened me on June 8, 2022, saying she was not paid to
14 respect me or put up with me, and if I responded back to her, I was going to the SHU just
15 like in Dublin, except this time I wouldn’t make it out and “she did not give a fuck.”
16                 26.   I reported the threat to Food Service Foremen, Officer Croce, who told me
17 that Officer Tucker and other lieutenants had conspired to retaliate against another person
18 who came from a “messed up facility” before, and encouraged me to let my family and a
19 lawyer know. Officer Croce said that Officer Tucker and other lieutenants did not feed
20 this previous inmate, held her in SHU for no reason, and used retaliatory tactics because
21 she tried to write people up and speak out.
22                 27.   I wrote to SIS Officer Joyce between June 2 and June 16, 2022, and was put
23 in SHU on June 17, 2022. On paper, it was for having buprenorphine in my system—
24 though my medical records explained it was high because of a colon issue. But I was told
25 by Unit Team Staff Smith and SIS Black that I was in the SHU because I was “making
26 noise.” I remained in the SHU from June 17 through August 2, 2022.
27                 28.   While in the SHU, I wrote to the Washington Office of Investigations about
28 the mistreatment. On August 4, 2022, I spoke to a Federal Bureau of Investigations (FBI)
     [4333987.1]                                       4
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 1 Agent and Department of Justice (DOJ) Officer Dana Crowe. I disclosed to them what
 2 was going on.
 3                 29.   I reached out to the Office of Inspector General (OIG) in June 2022 because
 4 of my mistreatment at SeaTac. OIG came to talk to me in August 2022. OIG asked me
 5 about the Warden. I also told them about Officer Smith at FCI Dublin. Nothing was done.
 6                 30.   I was delivered a subpoena in mid-September 2022. I was not told that I
 7 could have a lawyer, and my CJA lawyer was not allowed in these interviews.
 8                 31.   I tried to report sexual misconduct at FDC SeaTac in or around
 9 September 2022, and the Officers refused to take my report and accused me of lying.
10                 32.   Since August 2022, I have observed other officers enter cells with women
11 late at night or take women into the kitchen to be alone with them. I told this officer I
12 would report him, and he wrote me up for threatening him—but didn’t say what the threat
13 was. I told SIS and he said he would explain what happened with him, and the write-up
14 disappeared.
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     [4333987.1]                                       5
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 1                 I, N   S     , declare that Amaris Montes and other individuals in her

 2 organization spoke with me on numerous occasions, most recently on August 11, 2023.

 3 Due to time constraints and technological inabilities, I could not personally sign this

 4 declaration. On this day, August 7th, 2023, Amaris Montes corresponded with me via email

 5 and I authorized her to sign it on my behalf.

 6

 7 Executed on this 14th day of August, 2023.

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11                                                        Signed by Amaris Montes,
                                                          Rights Behind Bars
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     [4201615.1]
